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2    ENERGY REMODELING, INC.
3    22120 Clarendon St, Suite 200
     Telephone: (818) 928-3104
4    Facsimile: (818) 475-1549
5    Attorney for Defendant
6
7
                            UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
9
      BRIAN EGAN, individually and on          Case No.: 2:18-cv-03449-ODW (KSx)
10
      behalf of all others similarly situated,
11                                                ANSWER TO COMPLAINT
12
                           Plaintiff(s),
      v.
13
14
      ENERGY REMODELING, INC., and
      DOES 1 through 10, inclusive,
15
16
                           Defendant(s).

17

18
                                             ANSWER
19
            COMES NOW Defendant ENERGY REMODELING, INC. (hereinafter “ERI” or
20
21   “Defendant”), by and through its counsel of record, and hereby answers the Complaint of

22   Plaintiff BRIAN EGAN (“Plaintiff” or “Egan”) by admitting, denying and alleging as
23
     follows:
24
                                    NATURE OF THE CASE
25
         1. Defendant admits that Plaintiff claims he brings this Class Action Complaint for
26
     damages, available legal or equitable remedies, resulting from the allegedly illegal
27

28   actions of Defendant purportedly negligently and/or willfully contacting Plaintiff on

     ANSWER TO COMPLAINT                                                                       1
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     Plaintiff’s cellular telephone, in violation of the Telephone Consumer Protection Act, 47
1

2    U.S.C. § 227 (“TCPA”) and related regulations, specifically the National Do-Not-Call

3    provisions, 47 C.F.R. § 64.1200, thereby invading Plaintiff’s privacy. Defendant denies it
4
     violated said statutes or the law.
5
                                    JURISDICTION & VENUE
6
         2. Answering Paragraph 2 of the Complaint, Defendant asserts this paragraph states a
7
8    legal conclusion.

9        3. Answering Paragraph 3 of the Complaint, Defendant asserts this paragraph states a
10
     legal conclusion.
11
         4. Answering Paragraph 3 of the Complaint, Defendant asserts this paragraph states a
12
13   legal conclusion.

14                                                PARTIES
15       5. Answering Paragraph 5 of the Complaint, Defendant has insufficient information
16   to either admit or deny the allegations contained therein, and on that basis, denies same.
17
         6. Answering Paragraph 6 of the Complaint, Defendant admits in part that it is an
18
     entity in the business of solar panel installations and has a principal place of business in
19
20   Woodland Hills, California. Defendant denies in part that it has a principal place of
21   business at 19935 Ventura Boulevard. Defendant asserts whether it is a “person,” as
22
     defined by 47 U.S.C. § 153 (39) is a legal conclusion.
23
         7. Answering Paragraph 7 of the Complaint, Defendant has insufficient information
24
25   to either admit or deny the allegations contained therein, and on that basis, denies same.
26       8. Answering Paragraph 8 of the Complaint, Defendant has insufficient information
27
     to either admit or deny the allegations contained therein, and on that basis, denies same.
28

     ANSWER TO COMPLAINT                                                                            2
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                                    FACTUAL ALLEGATIONS
1
         9. Answering Paragraph 9 of the Complaint, Defendant denies each and every
2
3    allegation.

4       10. Answering Paragraph 10 of the Complaint, Defendant asserts Paragraph 10
5
     contains a legal conclusion to which Defendant denies each and every allegation.
6
        11. Answering Paragraph 11 of the Complaint, Defendant denies each and every
7
8    allegation.

9       12. Answering Paragraph 12 of the Complaint, Defendant asserts this paragraph states
10
     a legal conclusion. To the extent any response is required, Defendant denies each and
11
     every allegation.
12
13      13. Answering Paragraph 13 of the Complaint, Defendant denies each and every

14   allegation.
15
        14. Answering Paragraph 14 of the Complaint, Defendant has insufficient information
16
     to either admit or deny the allegations contained therein, and on that basis, denies same.
17

18      15. Answering Paragraph 15 of the Complaint, Defendant asserts this paragraph states

19   a legal conclusion. To the extent any response is required, Defendant denies each and
20
     every allegation.
21
        16. Answering Paragraph 16 of the Complaint, Defendant has insufficient information
22

23
     to either admit or deny the allegations contained therein, and on that basis, denies same.

24      17. Answering Paragraph 17 of the Complaint, Defendant denies each and every
25   allegation.
26
        18. Answering Paragraph 18 of the Complaint, Defendant denies each and every
27
     allegation.
28

     ANSWER TO COMPLAINT                                                                      3
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        19. Answering Paragraph 19 of the Complaint, Defendant asserts this paragraph states
1

2    a legal conclusion. To the extent any response is required, Defendant denies each and

3    every allegation.
4
        20. Answering Paragraph 20 of the Complaint, Defendant denies each and every
5
     allegation.
6
7       21. Answering Paragraph 21 of the Complaint, Defendant denies each and every

8    allegation.
9
        22. Answering Paragraph 22 of the Complaint, Defendant denies each and every
10
     allegation.
11
12      23. Answering Paragraph 23 of the Complaint, Defendant has insufficient information

13   to either admit or deny the allegations contained therein, and on that basis, denies same.
14
                                        CLASS ALLEGATIONS
15
        24. Answering Paragraph 24 of the Complaint, Defendant admits that Plaintiff claims
16
     to bring this action on behalf of himself and on behalf of all others similarly situated
17

18   (“the Class”). Further allegations contained in Paragraph 24 of the Complaint are legal

19   conclusions to which no response is required. To the extent any response is required,
20
     Defendant denies each and every allegation.
21
        25. Answering Paragraph 25 of the Complaint, allegations contained in Paragraph 25
22

23
     of the Complaint are legal conclusions to which no response is required. To the extent

24   any response is required, Defendant denies each and every allegation.
25      26. Answering Paragraph 26 of the Complaint, allegations contained in Paragraph 26
26
     of the Complaint are legal conclusions to which no response is required. To the extent
27
     any response is required, Defendant denies each and every allegation.
28

     ANSWER TO COMPLAINT                                                                        4
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       27. Answering Paragraph 27 of the Complaint, allegations contained in Paragraph 27
1

2    of the Complaint are legal conclusions to which no response is required. To the extent

3    any response is required, Defendant denies each and every allegation.
4
       28. Answering Paragraph 28 of the Complaint, allegations contained in Paragraph 28
5
     of the Complaint are legal conclusions to which no response is required. To the extent
6
7    any response is required, Defendant denies each and every allegation.

8      29. Answering Paragraph 29 of the Complaint, allegations contained in Paragraph 29
9
     of the Complaint are legal conclusions to which no response is required. To the extent
10
     any response is required, Defendant denies each and every allegation.
11
12     30. Answering Paragraph 30 of the Complaint, allegations contained in Paragraph 30

13   of the Complaint are legal conclusions to which no response is required. To the extent
14
     any response is required, Defendant denies each and every allegation.
15
       31. Answering Paragraph 31 of the Complaint, allegations contained in Paragraph 31
16
17   of the Complaint are legal conclusions to which no response is required. To the extent

18   any response is required, Defendant denies each and every allegation.
19
       32. Answering Paragraph 32 of the Complaint, Defendant admits that Defendant and
20
     its employees or agents are excluded from the Class.
21
22     33. Answering Paragraph 33 of the Complaint, allegations contained in Paragraph 33

23   of the Complaint are legal conclusions to which no response is required. To the extent
24
     any response is required, Defendant denies each and every allegation.
25
       34. Answering Paragraph 34 of the Complaint, Defendant denies each and every
26
27   allegation.

28

     ANSWER TO COMPLAINT                                                                      5
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       35. Answering Paragraph 35 of the Complaint, and subparagraphs (a)-(g) thereto,
1

2    allegations contained in Paragraph 35 of the Complaint are legal conclusions to which

3    no response is required. To the extent any response is required, Defendant denies each
4
     and every allegation.
5
       36. Answering Paragraph 36 of the Complaint, allegations contained in Paragraph 36
6
7    of the Complaint are legal conclusions to which no response is required. To the extent

8    any response is required, Defendant denies each and every allegation.
9
       37. Answering Paragraph 37 of the Complaint, allegations contained in Paragraph 37
10
     of the Complaint are legal conclusions to which no response is required. To the extent
11
12   any response is required, Defendant denies each and every allegation.

13     38. Answering Paragraph 38 of the Complaint, allegations contained in Paragraph 38
14
     of the Complaint are legal conclusions to which no response is required. To the extent
15
     any response is required, Defendant denies each and every allegation.
16
17     39. Answering Paragraph 39 of the Complaint, allegations contained in Paragraph 39

18   of the Complaint are legal conclusions to which no response is required. To the extent
19
     any response is required, Defendant denies each and every allegation.
20
       40. Answering Paragraph 40 of the Complaint, and subparagraphs (a)-(g), allegations
21
22   contained in Paragraph 40 of the Complaint are legal conclusions to which no response

23   is required. To the extent any response is required, Defendant denies each and every
24
     allegation.
25
       41. Answering Paragraph 41 of the Complaint, allegations contained in Paragraph 41
26
27   of the Complaint are legal conclusions to which no response is required. To the extent

28   any response is required, Defendant denies each and every allegation.

     ANSWER TO COMPLAINT                                                                      6
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       42. Answering Paragraph 42 of the Complaint, allegations contained in Paragraph 42
1

2    of the Complaint are legal conclusions to which no response is required. To the extent

3    any response is required, Defendant denies each and every allegation.
4
       43. Answering Paragraph 43 of the Complaint, allegations contained in Paragraph 43
5
     of the Complaint are legal conclusions to which no response is required. To the extent
6
7    any response is required, Defendant denies each and every allegation.

8      44. Answering Paragraph 44 of the Complaint, Defendant has insufficient information
9
     to either admit or deny the allegations contained therein, and on that basis, denies same.
10
       45. Answering Paragraph 45 of the Complaint, allegations contained in Paragraph 45
11
12   of the Complaint are legal conclusions to which no response is required. To the extent

13   any response is required, Defendant denies each and every allegation.
14
       46. Answering Paragraph 46 of the Complaint, allegations contained in Paragraph 46
15
     of the Complaint are legal conclusions to which no response is required. To the extent
16
17   any response is required, Defendant denies each and every allegation.

18     47. Answering Paragraph 47 of the Complaint, Defendant denies each and every
19
     allegation.
20
                                   FIRST CAUSE OF ACTION
21
       48. Answering Paragraph 48, Defendant incorporates Paragraphs 1-47 of its Answer.
22

23
       49. Answering Paragraph 49, Defendant denies each and every allegation.

24     50. Answering Paragraph 50, Defendant denies each and every allegation.
25     51. Answering Paragraph 51, Defendant denies each and every allegation.
26
                                    SECOND CAUSE OF ACTION
27
       52. Answering Paragraph 52, Defendant incorporates Paragraphs 1-51 of its Answer.
28

     ANSWER TO COMPLAINT                                                                      7
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          53. Answering Paragraph 53, Defendant denies each and every allegation.
1

2         54. Answering Paragraph 54, Defendant denies each and every allegation.

3         55. Answering Paragraph 55, Defendant denies each and every allegation.
4
                                       THIRD CAUSE OF ACTION
5
          56. Answering Paragraph 56, Defendant incorporates Paragraphs 1-55 of its Answer.
6
          57. Answering Paragraph 57, Defendant denies each and every allegation.
7
8         58. Answering Paragraph 58, Defendant denies each and every allegation.

9         59. Answering Paragraph 59, Defendant denies each and every allegation.
10
                                      FOURTH CAUSE OF ACTION
11        60. Answering Paragraph 60, Defendant incorporates Paragraphs 1-59 of its Answer.
12
          61. Answering Paragraph 61, Defendant denies each and every allegation.
13
          62. Answering Paragraph 62, Defendant denies each and every allegation.
14
15        63. Answering Paragraph 63, Defendant denies each and every allegation.
16                                  AFFIRMATIVE DEFENSES
17                                FIRST AFFIRMATIVE DEFENSE
18                                (Failure to State a Cause of Action)
19        1. Plaintiff’s Complaint, and each cause of action contained therein, fails to state
20
      facts sufficient to constitute a valid cause of action against Defendant.
21
                                SECOND AFFIRMATIVE DEFENSE
22
                                  (Laches and Statute of Limitations)
23
          2. The Complaint is barred, in whole or in part, by the doctrine of laches or the
24
      applicable statute of limitations.
25
26
27   //

28

     ANSWER TO COMPLAINT                                                                         8
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                                 THIRD AFFIRMATIVE DEFENSE
1
                                              (No ATDS)
2
          3. As a separate, affirmative defense, Defendant asserts that Defendant does not
3
4
     employ an automatic telephone dialing system as defined by the TCPA.

5                                FOURTH AFFIRMATIVE DEFENSE
6                                         (Equitable Defenses)
7         4. As a separate, affirmative defense, the Complaint, and each cause of action alleged

8    therein against Defendant are barred by doctrines of estoppel, waiver, unclean hands,
9
     and other equitable doctrines. Defendant is informed and believes that Plaintiff sought
10
     out opportunities to bring litigation.
11
12                               FIFTH AFFIRMATIVE DEFENSE

13                              (No Intentional or Reckless Conduct)
          5. Defendant contends that it did not engage in any conduct that was outrageous,
14
15   intentional and malicious or done with reckless disregard with respect to Plaintiff.
16   Defendant also alleges that it never engaged in any knowing, willful or fraudulent
17
     conduct with respect to Plaintiff.
18
                                 SIXTH AFFIRMATIVE DEFENSE
19
                                          (Failure to Mitigate)
20
          6. Plaintiff is not entitled to recover any damages, or any recovery awarded should be
21
22   reduced by the amount of damages which reasonably could have been avoided, because

23   Plaintiff failed to take reasonable steps to mitigate his damages with respect to the
24
     matters alleged in the Complaint.
25
     //
26
27

28

     ANSWER TO COMPLAINT                                                                       9
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1
                              SEVENTH AFFIRMATIVE DEFENSE
2
                                          (Bona Fide Error)
3
       7. Assuming arguendo that this Defendant violated a statute alleged in the
4
     Complaint, which presupposition the Defendant denies, such violation was not
5
6    intentional and resulted from a bona fide error, not withstanding the maintenance of
7    procedures reasonably adapted to avoid any such error.
8
                               EIGHTH AFFIRMATIVE DEFENSE
9
                                (Prior Express or Implied Consent)
10
       8. Defendant asserts that it had consent to call the phone numbers at issue, either via
11
     prior express consent or implied consent.
12
13                               NINTH AFFIRMATIVE DEFENSE
                                        (Assumption of Risk)
14
       9. Defendant asserts that Plaintiff assumed the risk of the calls made by Defendant.
15
16                               TENTH AFFIRMATIVE DEFENSE

17                                (Reasonableness and Good Faith)

18     10. Defendant and its agents, if any, acted reasonably and in good faith at all times

19   material herein, based on all relevant facts and circumstances known by them at the time
20
     they so acted, Defendant alleges that they acted lawfully and within their legal rights,
21
     with a good faith belief in the exercise of those rights, and in the furtherance of
22

23
     legitimate business purpose. Further, Defendant acted in good faith in the honest believe

24   that the acts, conduct and communications, if any, of Defendant were justified under the
25   circumstances based on information reasonably available to this answering Defendant.
26
     Accordingly, Plaintiff is barred from any recovery in this action.
27

28

     ANSWER TO COMPLAINT                                                                        10
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                                 ELEVENTH AFFIRMATIVE DEFENSE
1
                                           (No Class Action)
2
        11. As a separate affirmative defense, Defendant alleges that Plaintiff’s claims are
3
4
     barred, in whole or in part, because class members are not identifiable and because this

5    case is not appropriate for class treatment, including, but not limited to, lack of typicality,
6    ascertain-ability, predominance of individualized issues, and superiority.
7
8                                 TWELFTH AFFIRMATIVE DEFENSE
                                            (Standing)
9
10      12. As a separate, affirmative defense, Defendant asserts that Plaintiff lacks standing
11   to assert this class.
12
                                THIRTEENTH AFFIRMATIVE DEFENSE
13                                     (Reservation of Rights)
14
        13. Defendant reserves the right to amend its answer and claims herein by adding
15
     additional parties, affirmative defense, counterclaims, cross-claims, and/or third party
16
17   claims, as additional investigation, discovery or circumstances warrant.

18                             FOURTEENTH AFFIRMATIVE DEFENSE
                             (Contributory or Comparative Negligence or Fault)
19
20      14. Defendant alleges Plaintiff and other persons’ carelessness, negligence, or other
21   wrongful conduct caused or contributed to any incident, injuries, loss, or damages
22
     complained of, if any, and such acts or omissions bar or reduce Defendant’s liability.
23
                                 FIFTEENTH AFFIRMATIVE DEFENSE
24
                                         (Indemnification)
25
        15. Defendant alleges that Plaintiff and other persons -whether or not parties to this
26
27   action- carelessly, negligently, or intentionally proximately caused or contributed to the

28   happening of the injury, loss, or damages complained of, if any, and any damages

     ANSWER TO COMPLAINT                                                                        11
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     awarded must be apportioned among such persons or entities, whether or not the they are
1

2    parties, in proportion to any amount attributable to such other persons or entities.

3                              SIXTEENTH AFFIRMATIVE DEFENSE
4
                                     (Unauthorized Conduct)

5       16. Defendant alleges the Complaint and each cause of action is barred on the ground
6    that the acts complained of were performed by persons without the authority to act on
7
     behalf of Defendant.
8
                            SEVENTEENTH AFFIRMATIVE DEFENSE
9
                                       (Failure to Join)
10
        17. Failure to join necessary parties.
11
12
                              DEFENDANT’S PRAYER FOR RELIEF
13
            WHEREFORE, Defendant denies every request in Plaintiff’s prayer, and prays
14
15   that Plaintiff’s Complaint be dismissed with prejudice, for its attorneys’ fees and costs
16   incurred herein, and for such further relief as the court deems just and equitable.
17

18
     Dated: June 29, 2018

19
                                                       ENERGY REMODELING, INC.

20
                                                              By: /s/ Isha Kakkar
21                                                                 ISHA KAKKAR, ESQ.
22                                                                Attorney for Defendant

23                                  CERTIFICATE OF SERVICE
24
            I hereby certify that on June 29, 2018, I electronically filed the foregoing with the
25    Clerk of the Court using the ECF system, which will send notice of such filing to all
      attorneys of record in this matter. Since none of the attorneys of record are non-ECF
26
      participants, hard copies of the foregoing have not been provided via personal delivery
27    or by postal mail.
28          /s/ Isha Kakkar
     ANSWER TO COMPLAINT                                                                         12
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